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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )         No. 1:23-cr-10074-FDS
      v.                            )
                                    )
JEAN MOROSE VILIENA,                )
       Defendant.                   )
___________________________________ )

                                   DEFENDANT’S TRIAL BRIEF

         Now comes the defendant, Jean Viliena, before this Honorable Court, and respectfully

 submits the instant trial brief to address the legal issues likely to arise at trial.

                                              Background

        Mr. Viliena was charged in an indictment with three counts of fraud and misuse of visas,

permits, and other documents in violation of 18 U.S.C. § 1546(a).

                                           Defendant’s Case

        Mr. Viliena denies the allegations. Mr. Viliena has submitted both witness and exhibit

lists. At this point, Mr. Viliena intends to call numerous defense witnesses.

                                         Stipulations of Fact

        At this time, there are no stipulations. The parties will notify the Court if an agreement is

made on any stipulations.

                                        Reciprocal Discovery

        The defendant has produced discovery to the government and is not currently in possession

of any reciprocal discovery he would be required to produce to the United States that has not been

provided. The defendant is aware of his discovery obligations and will provide the United States

with discovery should this change.


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                                         Motions in Limine

        Mr. Viliena has filed numerous motions in limine, as has the United States. This Honorable

Court has made provisional or final rulings on many of the issues raised in the motions in limine.

                                               Exhibits

        Both Mr. Viliena and the government had submitted lists of proposed exhibits. Mr. Viliena

has moved to exclude several of the government’s exhibits via motions in limine; he intends to file

an additional motion in limine to address exhibits recently identified by the government in its

Second Supplemental Exhibit List.

                                   Issues Likely to Arise at Trial

        In addition to other issues related to motions in limine and exhibits, Mr. Viliena believes

that the following will be key legal issues at trial.

    A. Scope of Government Witness Concannon Testimony

    Mr. Viliena believes that further discussion and litigation is necessary pertaining to the scope

of Brian Concannon’s testimony.

    B. Motive, Bias, and Impeachment Evidence Relevant to Government Witnesses’
       Credibility

        Mr. Viliena anticipates that the scope of cross-examination as to the government witnesses’

credibility will continue to be litigated throughout the trial, based on their testimony and the

evidence as it is presented.

        The government states in its trial brief that Mr. Viliena’s defense “amounts to a form of

jury nullification.” This is an unwarranted attack on defense counsel and the defense. Mr. Viliena

has explained, more than he is required to, his defense theory, including challenges to the

witnesses’ credibility. In order to explain the need for Mr. Viliena to bring defense witnesses in

from Haiti, Mr. Viliena has explained their importance and how they fit into Mr. Viliena’s defense.


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Mr. Viliena has evidence, documentary and witness testimony, that cast great doubt on the stories

of the government witnesses. Such evidence would not be presented to create some comparative

bad acts analysis that the government suggests, but to call into question the government’s version

of events and suggest an alternative narrative supported by evidence.



                                                     Respectfully Submitted,
                                                     Jean Morose Viliena
                                                     by his attorney,
                                                     /s/ Jason Benzaken

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DATED: March 11, 2025




                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of this motion has been served upon the parties and counsel
for the United States by CM/ECF.

                                             /s/ Jason Benzaken
                                             Jason Benzaken

Dated: March 11, 2025




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